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                   UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
             Form 1. Notice of Appeal from a Judgment or Order of a
                           United States District Court
Name of U.S. District Court:                  District of Nevada

U.S. District Court case number:               2:15-cv-1928-LDG-CWH

Date case was first filed in U.S. District Court:                    10/07/2015

Date of judgment or order you are appealing:                        03/07/2019
Fee paid lor appeal? (appeal fees are paid a( (he U.S. District Court)

(• Yes     r No         C IFP was granted by U.S. District Court

List all Appellants (List each party filing the appeal. Do not use "el al. " or other abbreviations.)

  LAS VEGAS POLICE PROTECTIVE ASSOCIATION METRO INC.; LAS
  VEGAS METRO POLICE MANAGERS & SUPERVISORS ASSOCIATION




Is this a cross-appeal? C Yes               (• No
If Yes, what is the first appeal case number?

Was there a previous appeal in this case?                   f Yes         C No
If Yes, what is the prior appeal case number?

Your mailing address:
McCracken, Stemerman & Holsberry, LLP

595 Market Street, Suite 800

City: San Francisco                           State: CA               Zip Code: 94105

Prisoner Inmate or A Number (if applicable):

Signature                                                                Date                    5

     Coin/dele and file with the attached representation statement in the U.S. DistrictCourt
                    Feedback or questions about this form? Email us at JbrmsCaV. uscourts. gov

Form 1                                                                                           Rev. 12/01/2018
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                       UNITED STATES COURT OF APPEALS

                              FOR THE NINTH CIRCUIT


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                                Representation Statement
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 1                                       CERTIFICATE OF SERVICE
 2          The certify that on March 25, 2019,1 electronically transmitted the attached document to the
 3   Clerk’s Office using the CM/ECF System for filing and transmittal and a Notice of Electronic Filing
 4   was electronically transmitted from the court to the e-mail address on file.
 5
 6                                                 /s/ Yien San Juan

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